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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR13-161-JLR
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   MECHOR MARTINEZ-SANTIAGO,            )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offenses charged:       Conspiracy to Distribute Controlled Substances, Possession of Heroin

15 and Cocaine with Intent to Distribute, Possession of Heroin with Intent to Distribute, and Illegal

16 Reentry after Deportation.

17 Date of Detention Hearing:      May 31, 2013.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably

21 assure the appearance of defendant as required and the safety of other persons and the

22 community.



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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02         1.      Defendant has been charged with a drug offense, the maximum penalty of which

03 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

04 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

05         2.      Defendant is reportedly a citizen of Mexico.

06         3.      The United States alleges that his presence in this country is illegal. There is an

07 immigration detainer pending against him. The issue of detention in this case is therefore

08 essentially moot, as the defendant would be released to immigration custody if not detained in

09 this case.

10         4.      Defendant and his counsel offer no opposition to entry of an order of detention.

11         5.      Upon advice of counsel, defendant declined to be interviewed by Pretrial

12 Services. Therefore, there is limited information available about him.

13         6.      Taken as a whole, the record does not effectively rebut the presumption that no

14 condition or combination of conditions will reasonably assure the appearance of the defendant

15 as required and the safety of the community.

16 It is therefore ORDERED:

17      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

18         General for confinement in a correction facility separate, to the extent practicable, from

19         persons awaiting or serving sentences or being held in custody pending appeal;

20      2. Defendant shall be afforded reasonable opportunity for private consultation with

21         counsel;

22      3. On order of the United States or on request of an attorney for the Government, the



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01        person in charge of the corrections facility in which defendant is confined shall deliver

02        the defendant to a United States Marshal for the pupose of an appearance in connection

03        with a court proceeding; and

04     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

05        for the defendant, to the United States Marshal, and to the United State Pretrial Services

06        Officer.

07        DATED this 31st day of May, 2013.

08
                                                s/ Dean Brett
09                                              United States Magistrate Judge

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